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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 DEARREA KING,
                                                     Case No. 2:18-cv-1060
                        Plaintiff,
                                                     Judge Edmund A. Sargus
        v.
                                                     Chief Magistrate Judge Elizabeth P.
 CITY OF COLUMBUS, OHIO, et al.,                     Deavers

                        Defendants.                         WITHDRAWAL OF
                                                       AMENDED NOTICE OF VIDEO-
                                                      TAPED DEPOSITION OF AB (R.59)


       Defendants hereby withdraw their notice to take the deposition of Third-Party Defendant

AB (a minor) upon oral examination on July 17, 2019 (R.59). The deposition scheduled in that

notice will not be going forward but will take place on a later date to be determined.

                                             Respectfully submitted,

                                             /s/ Andrew D.M. Miller
                                             Andrew D.M. Miller (0074515) – LEAD
                                             Timothy J. Mangan (0025430)
                                             Westley M. Phillips (0077728)
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                                             Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that, on July 15, 2019, I electronically filed the foregoing with the Clerk

of this Court by using the Court’s CM/ECF System. Copies will be served upon counsel of record

by, and may be obtained through, the Court’s CM/ECF System. A hardcopy of the foregoing has

also been served via First-Class U.S. mail, postage prepaid, to Third-Party Defendant Demetrius

Braxton, Inmate #A731130, Southern Ohio Correctional Facility, P.O. Pox 45699, Lucasville,

Ohio 45699.

                                             /s/ Andrew D.M. Miller
                                             Andrew D.M. Miller (0074515)




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